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AO (Rev. 5/85) Criminal Complaint

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA CRIMINAL COMPLAINT

VS.

CASE NUMBER: 6:12-mj- 429

BRUCE LEE JENNINGS

i, the undersigned complainant, being duly sworn, state the following is true and correct
to the best of my knowledge and belief. On or about August 22, 2012 to September 14, 2012,
in Volusia County, in the Middle District of Florida, defendant(s) did Distribute and Possess
Child Pornography using a means or facility of interstate of foreign commerce shipped or
transported in or affection interstate or foregn commerce by an means, including by computers,
in violation of Title 18, United States Code, Section(s) 2252A(a)(2)(A) and (a)(5)(B). | further
state that | am a Special Agent with Homeland Security Investigations, and that this Complaint

is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof: &) Yes O No
A,
! {
Ne,
a —_——
. | TO

Signature of, ‘Complainant
Joseph Grey

Sworn to before me and subscribed in my presence,

 

 

 

September 15, 2012 at Orlando, Florida
(C: Oe
David A. Baker ra fe fF 4
United States Magistrate Judge wf topes hie .
Name & Title of Judicial Officer Signature of Judicial Officer

 

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Affidavit in Support of Criminal Complaint

|, Joseph Grey, after being duly sworn, depose and state:

1. | am a Special Agent with the United States Immigration and Customs
Enforcement (ICE), Homeland Security Investigations (HSI) formerly known as the
United States Customs Service, and have been so employed since October 2007. | am
currently assigned to the Office of the Resident Agent in Charge, Cocoa Beach, Florida,
which is responsible for conducting criminal investigations and enforcing laws that are
under the investigative jurisdiction of the United States ICE-HSI in the counties of
Brevard and Volusia in the Middle District of Florida. | am a law enforcement officer of
the United States within the meaning of Section 1401(i) of Title 19, United States Code,
and am empowered to investigate and make arrests for violations of U.S. criminal laws
within the meaning of Section 2510(7) of Title 18 United States Code.

2. Prior to becoming a Special Agent with United States ICE-HSI, | was
employed as a Trial Attorney for the ICE Office of the Principal Legal Advisor. | am a
graduate of the Federal Law Enforcement Training Center and hold a Bachelor of Arts
degree in Criminology and a Juris Doctorate from the University of Florida.

3. As a Special Agent, my responsibilities include investigating possible
criminal violations of U.S. Customs and related laws. | have received specialized
training in the investigations of sex crimes, child exploitation, child pornography and

computer crimes. | have been involved in investigations involving child pornography
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and online solicitation/enticement of a minor. | have participated in investigations of
persons suspected of violating federal child pornography laws, including Title 18, United
States Code, Sections 2251, 2252 and 2252A. | have also participated in training
courses for the investigation and enforcement of federal child pornography laws in
which computers are used as the means for receiving, transmitting, and storing child
pornography. Additionally, | have been involved in authoring and participated in the
execution of search warrants involving searches and seizures of computers, computer
equipment, software and electronically stored information.

4. This affidavit is submitted in support of a criminal complaint against
BRUCE LEE JENNINGS. As set forth in more detail below, | believe there is probable
cause to believe that JENNINGS is involved in receiving, possessing, transmitting,
distributing, promoting and presenting sexually explicit images of minors and child
pornography, in interstate commerce, in violation of Title 18, United States Code,
Sections 2252(a) and 2252A(a).

5. | make this affidavit from personal knowledge based on my participation in
this investigation, information from other criminal investigators, information from
enforcement officers, information from agency reports, and our review of documents
provided to me by these witnesses and enforcement officers. Because this affidavit is
being submitted for the limited purpose of establishing probable cause for the issuance
of a criminal complaint, | have not set forth each and every fact learned during the

course of this investigation.
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6. Task Force Agent (TFA) Dan Ogden of the Brevard County Sheriff's Office
in Rockledge, FL and | are familiar with Peer to Peer (P2P) file sharing, specifically
different clients which operate on the ARES network. ARES is a “free” software
program used to download and exchange files between computer users. On August 21,
2012, TFA Ogden was conducting investigations into the sharing of “Child Pornography"
on the Ares Peer-to-Peer (P2P) file sharing network at his office in Rockledge, FL. TFA.
Ogden located a computer, with IP address 184.42.12.26, which was online sharing

files of child pornography.

7. The IP address 184.42.12.26 was identified as a candidate to download
suspected child pornography based on records contained within a law enforcement
database. The database compiles suspected IP addresses based upon searches
conducted for files previously observed by investigators searching the network by
keywords or SHA-1 values. This IP address was identified as a download candidate for
more than a dozen files based on file query results with SHA-1 values matching

suspected child pornography.

8. During the installation of the Ares program, the user is prompted to
choose a nickname. The nickname is used in the Ares peer to peer chat features. The
nickname is transmitted with the query result. If a user chooses not to specify a
nickname, he will receive a nickname having a prefix “anon_", followed by his IP
address represented in hexadecimal. The nickname obtained from the suspected

computer, in this case, was: anon_b82a0c1a@Lime.
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9. On Wednesday, August 22, 2012, between 1333 hrs and 1358 hrs EDT
(between 1733 hours and 1758 hours UTC), the Law Enforcement Roundup Ares
software program successfully completed the download of the following 5 file(s) that the
computer at IP address 184.42.12.26 was making available (represented below by their

file names and corresponding SHA-1 values):

 

Sexo

infantile_penetrando uma 3FWJ2W4ACJZMDISCNJGUFG2SJEXLKPPTN

menininha de 11 anos.avi

 

malolata 2_pthc - 11yr

son eat mom to 5PYX2XO5PK27NZAJUWGT4TJLNCH2A3CG

orgasm.mpeg

 

(pthc-jho-lolifuck) 6 yo
girl gets cum in mouth in S56QEFFR2ZHLRLC6S5KCIIN26LUR5KQAVGZ

laundy room(3).wmv

 

13y kaylyndianaa
webcam stickam bates ZNXRA5Z2OKDVX4FOACE6DCVB43PHOAHK

on cam 2011(2).avi

 

babyj-fuck me!
23LMFNSBVJTZDGDI3DD7WNFDUXUWMKMA
ggggg-.wmv

 

 

The computer at IP Address 184.42.12.26 was the sole candidate for all five downloads

above, and as such, the entire files were downloaded directly from this |P Address.

 

 

 
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10.

as follows:

11.

After the files were downloaded, | viewed the files. The files are described

Sexo infantile_penetrando uma menininha de 11 anos.avi — a movie file
depicting an adult male engaged in sexual intercourse with a nude girl,
approximately six to eight years of age.

(pthc-jho-lolifuck) 6 yo girl gets cum in mouth in laundy room(3).wmv — a
movie file depicting a girl, approximately seven to nine years of age,
performing oral sex on an adult male.

malolata 2_pthe - 11yr son eat mom to orgasm.mpeg — a movie file
depicting a possibly minor nude male of undetermined age, performing
oral sex on an adult female.

13y kaylyndianaa webcam stickam bates on cam 2011(2).avi —- a movie
file depicting a post pubescent female, possibly a minor, of undetermined
age, masturbating and inserting her fingers into her vagina.

babyj-fuck me! ggggg.wmv — a movie file depicting an adult male inserting
his penis repeatedly into the vagina of a minor femate child. This child is
approximately four to six years old in this movie. The child in this movie is
a known previously identified child victim according to the National Center
for Missing and Exploited Children.

On Wednesday, August 22, 2012 a Domain Name System (DNS) check

on the IP address 184.42.12.26 was conducted through the American Registry for

Internet Numbers (ARIN). Roundup Ares received information that the IP address
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184.42.12.26 is registered to AT&T. TFA Ogden served a state subpoena on AT&T for
the subscriber information of the user of this IP address during the time the above files
were downloaded.
12. On August 28, 2012, AT&T responded to the subpoena and identified the
user of IP address 184.42.12.26 from August 22, 2012 between 1358 hours and 1840
hours UTC, as follows:
Name: Bruce Lee Jennings
Address: XXXXX, Port Orange, FL 32128
Account: 12/15/2006 — present
Email: XXXXX@beilsouth.net
XXXXX1@bellsouth.net
13. A query of the Florida Department of Highway Safety and Motor Vehicles
(FDHSMV) database revealed that a Bruce Lee Jennings (date of birth, XX/XX/1948)
lists his current residence on his driver's license as XXXXX, Daytona Beach, FL 32128.
14. A query of the Volusia County Property Appraiser’s Office reveals that
there is a parcel record of the premises. listed in Port Orange, FL 32128. According to
the Volusia County Property Appraiser’s Office records this is the only parcel of such
description in Volusia County. Additionally, records show the listed owner of the
aforesaid parcel is a Bruce L. Jennings with a residential address in Port Orange, FL
32128.
15. On September 11, 2012, | sought and obtained a federal search warrant
for the premises in Port Orange, FL, based on the single source downloads from IP

address 184.42.12.26 described above.
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16. On September 14, 2012, HSI Special Agents along with Task Force

Agents from Brevard and Volusia Counties executed the federal search warrant at

_ Port Orange, FL. Just prior to the search of the premises, Special
Agent Ken McClenahan (HSI) and | conducted a knock and talk encounter and non-
custodial interview with Bruce Lee JENNINGS at his residence. During this interview,
JENNINGS denied any intentional! involvement in downloading or viewing images of
child pornography. JENNINGS stated that he had some old computers in his garage, a
home computer in the house, and his wife’s laptop. JENNINGS denied using file
sharing software of any kind on any of his computers. JENNINGS stated that there
were no computers in any of his vehicles on the premises. JENNINGS stated that his
wireless internet signal at his home is password protected and none of his neighbors
know the password. JENNINGS stated that only he and his wife, Joanne Jennings, live
at the residence and that they have no visitors or relatives that come to the house to
use their computers.

17. | notified JENNINGS and his wife that there was a search warrant for the
premises and advised them of their Miranda Rights. When | asked them if they
understood their rights, JENNINGS stated that he understood those rights but wanted to
talk to his wife first. JENNINGS then told his wife to refuse to answer questions. At that
point, | talked to JENNINGS outside the residence and asked him again if he
understood the Miranda rights warning I had read to him. JENNINGS stated that he

understood. { then asked JENNINGS if, understanding those rights, he still wished to
speak with me. JENNINGS stated “Yes."
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18. JENNINGS stated that he had lied to the agents about his involvement in
child pornography. JENNINGS indicated that he was using LimeWire for the purposes
of downloading and viewing child pornography. JENNINGS admitted that he had been
using P2P software to intentionally and knowingly obtain child pornography for more
than five years. JENNINGS expressed that he was mainly interested in images and
videos of prepubescent girls engaged in sexual activity. He stated that he knew that the
children were real children who had been sexually abused. JENNINGS admitted that
he used child pornography to masturbate. JENNINGS stated that he did not feel guilty
about downloading and viewing child pornography. JENNINGS admitted that he knew
that by using the P2P software he was sharing images of child pornography with other
users on the P2P network. | showed JENNINGS still shots from the videos that were
originally downloaded from JENNINGS and that were the subject of the search warrant
affidavit. JENNINGS admitted that the images | showed him would be found on his
computer and acknowledged he had been responsible for distributing those images.
When | asked JENNINGS how much child pornography he kept, JENNINGS answered,
“a lot.” JENNINGS admitted that he had lied previously about the number of computers
he possessed. He told me he has another laptop and an external hard drive hidden in
the Chrysler Sebring he had been driving earlier that day and that those items contain
child pornography.

19. While agents were searching the Chrysler Sebring, they discovered a
Toshiba laptop and a Seagate external hard drive. Forensic agents conducted a
preview search of both items. The forensic preview revealed that this laptop computer

and the external hard drive contained hundreds of images and movies of child
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pornography. These items along with a number of other items were seized as evidence
during the search warrant.

20. One of the videos discovered on the Toshiba laptop that was recovered
from the Chrysler Sebring was a video that | recognize as being one of the videos that
was distributed from the JENNINGS residence to TFA Dan Ogden. The file, “babyj-fuck
me! ggggg.wmv,” described in paragraphs 9 and 10 above was the subject of the single
source download from the JENNINGS residence IP address on August on August 22,
2012, between 1333 hrs and 1358 hrs EDT.

21. Based on the above, | have probable cause to believe that Bruce
JENNINGS is involved in possession and distribution of sexually explicit images of
minors and child pornography in interstate commerce, in violation of Title 18, United
States Code, Sections 2252A(a)(2) and 2252A(a)(5).

This concludes my Affidavit.

 

Sworn to and subscribed before me, this 15" day of September 2012.

(vam

David A. Baker *
United States Magistrate Judge
